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                                Exhibit
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      Department of State  /  Division of Corporations  /  Search Records  /  Detail By Document Number /



         Detail by Entity Name
         Florida Profit Corporation
         DEDICATED SERVERS INC
         Filing Information

         Document Number                     P11000039978
         FEI/EIN Number                      N/A
         Date Filed                          04/25/2011
         State                               FL
         Status                              ACTIVE
         Last Event                          AMENDMENT
         Event Date Filed                    07/16/2012
         Event Effective Date                NONE
         Principal Address

         2777 Stemmons Fwy. 
         Suite 1655 
         Dallas, FL 75207 
          
         Changed: 01/18/2014
         Mailing Address

         2777 Stemmons Fwy. 
         Suite 1655 
         Dallas, FL 75207 
          
         Changed: 01/18/2014 
         Registered Agent Name & Address

         INCORPORATED NOW INC
         6750 N. Andrews Ave. 
         Suite 200 
         Fort Lauderdale, FL 33309 
          
         Address Changed: 02/04/2015
         Officer/Director Detail

         Name & Address 
          
         Title D 
          
         MISHRA, RAJESH K
         2777 N Stemmons Fwy. 
         Suite 1655                                                                                                        P-E000140
http://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype=EntityName&directionType=Initial&searchNameOrder=DEDICATEDSERV… 1/2
3/25/2017
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         Suite 1655 
         Dallas, TX 75207 
          
         Annual Reports

         Report Year               Filed Date
         2014                      01/18/2014
         2015                      02/04/2015
         2016                      03/24/2016
          
         Document Images

         03/24/2016 ­­ ANNUAL REPORT        View image in PDF format

         02/04/2015 ­­ ANNUAL REPORT        View image in PDF format

         01/18/2014 ­­ ANNUAL REPORT        View image in PDF format

         03/30/2013 ­­ ANNUAL REPORT        View image in PDF format

         07/16/2012 ­­ Amendment            View image in PDF format

         02/22/2012 ­­ ANNUAL REPORT        View image in PDF format

         04/25/2011 ­­ Domestic Profit      View image in PDF format

          
          



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      Department of State  /  Division of Corporations  /  Search Records  /  Detail By Document Number /



         Detail by Entity Name
         Florida Profit Corporation
         IP TRANSIT INC
         Filing Information

         Document Number                     P09000064840
         FEI/EIN Number                      N/A
         Date Filed                          07/30/2009
         Effective Date                      04/17/2008
         State                               FL
         Status                              ACTIVE
         Last Event                          AMENDMENT
         Event Date Filed                    05/24/2010
         Event Effective Date                NONE
         Principal Address

         2777 Stemmons Fwy. 
         Suite 1655 
         Dallas, TX 75207 
          
         Changed: 01/17/2014
         Mailing Address

         2777 Stemmons Fwy. 
         Suite 1655 
         Dallas, TX 75207 
          
         Changed: 01/17/2014 
         Registered Agent Name & Address

         INCORPORATE NOW INC.
         6750 N. Andrews Ave. 
         Suite 200 
         Fort Lauderdale, FL 33309 
          
         Name Changed: 02/28/2010 
          
         Address Changed: 03/31/2013
         Officer/Director Detail

         Name & Address 
          
         Title VP 
                                                                                                                            P-E000142
http://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype=EntityName&directionType=Initial&searchNameOrder=IPTRANSIT%20P0… 1/2
3/25/2017
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         Bezruchenko, Kostyantyn
         2777 Stemmons Fwy. 
         Suite 1655 
         Dallas, TX 75207 
          
         Annual Reports

         Report Year               Filed Date
         2014                      01/17/2014
         2015                      02/04/2015
         2016                      02/23/2016
          
         Document Images

         02/23/2016 ­­ ANNUAL REPORT        View image in PDF format

         02/04/2015 ­­ ANNUAL REPORT        View image in PDF format

         01/17/2014 ­­ ANNUAL REPORT        View image in PDF format

         03/31/2013 ­­ ANNUAL REPORT        View image in PDF format

         02/22/2012 ­­ ANNUAL REPORT        View image in PDF format

         04/19/2011 ­­ ANNUAL REPORT        View image in PDF format

         05/24/2010 ­­ Amendment            View image in PDF format

         02/28/2010 ­­ ANNUAL REPORT        View image in PDF format

         07/30/2009 ­­ Domestic Profit      View image in PDF format

          
          



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       Case                                      Detail by Entity
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         Detail by Entity Name
         Florida Profit Corporation
         WZ COMMUNICATIONS INC.
         Filing Information

         Document Number                  P09000095109
         FEI/EIN Number                   N/A
         Date Filed                       11/19/2009
         Effective Date                   03/05/2008
         State                            FL
         Status                           ACTIVE
         Principal Address

         2777 N Stemmons Fwy.
         Suite 1655
         Dallas, TX 75207

         Changed: 04/30/2017
         Mailing Address

         110 E. Broward Blvd.
         Suite 1700
         Fort Lauderdale, FL 33301

         Changed: 04/30/2017
         Registered Agent Name & Address

         INCORPORATE NOW INC.
         512 Lucerne Ave
         Lake Worth, FL 33460

         Address Changed: 04/30/2017
         Officer/Director Detail

         Name & Address

         Title D

         Bezruchenko, Kostyantyn
         2777 Stemmons Fwy.
         Suite 1655
         Dallas, TX 75207


         A       lR       t                                                                                            P-E000498
http://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype=EntityName&directionType=Initial&searchNameOrder=WZCOMM…   1/2
10/26/2017
       Case                                     Detail by Entity
                0:17-cv-60426-UU Document 83-10 Entered      onName
                                                                 FLSD Docket 11/01/2017 Page 7 of 7
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         Report Year              Filed Date
         2015                     01/30/2015
         2016                     03/24/2016
         2017                     04/30/2017


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         01/30/2015 -- ANNUAL REPORT           View image in PDF format

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         02/20/2012 -- ANNUAL REPORT           View image in PDF format

         04/25/2011 -- ANNUAL REPORT           View image in PDF format

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         11/19/2009 -- Domestic Profit         View image in PDF format




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